        Case 8:25-cv-00951-PX          Document 40        Filed 04/09/25      Page 1 of 3



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                  –Greenbelt Division–

KILMAR ARMANDO ABREGO GARCIA,
ET AL.,

                       Plaintiffs,
                                                       Case No.: 8:25-CV-00951-PX
v.

KRISTI NOEM, ET AL.,

                       Defendants.


               CORRECTED MOTION FOR ADMISSION PRO HAC VICE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD

       I, Jonathan G. Cooper, am a member in good standing of the bar of this Court. I am moving

for the admission of Courtney C. Whang to appear pro hac vice in this case as counsel for Plaintiffs

Kilmar Armando Abrego Garcia, Jennifer Stefania Vasquez Sura, and A. A.V., a minor, by and

through his next friend and mother, Jennifer Vasquez Sura.

       We certify that:

       1.      The proposed admittee is not a member of the Maryland bar and does not maintain

any law office in Maryland.

       2.      The proposed admittee is a member in good standing of the bars of the following

State Courts and/or United States Courts:

 State Court & Date of Admission                    U.S. Court & Date of Admission
 State of New York (1/11/2016)          U.S. District Court, S.D. of N.Y. (04/05/2016)
                                        U.S. District Court, E.D. of N.Y. (04/14/2016)
                                        U.S. Court of Appeals, Second Circuit (02/29/2024)
                                        U.S. Supreme Court (08/01/2022)




                                                 1
         Case 8:25-cv-00951-PX           Document 40        Filed 04/09/25   Page 2 of 3



        3.      During the twelve months immediately preceding this motion, the proposed

admittee has been admitted pro hac vice in this Court 0 time(s).

        4.      The proposed admittee has never been disbarred, suspended, or denied admission

to practice law in any jurisdiction.

        5.      The proposed admittee is familiar with the Maryland Attorneys’ Rules of

Professional Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the

Federal Rules of Appellate Procedure, and the Local Rules of this Court, and understands he/she

shall be subject to the disciplinary jurisdiction of this Court.

        6.      The proposed admittee understands admission pro hac vice is for this case only and

does not constitute formal admission to the bar of this Court.

        7.      The undersigned movant is also a member of the bar of this Court in good standing,

and will serve as co- counsel in these proceedings.

        8.      The $100.00 fee for admission pro hac vice accompanies this motion.

        9.      We hereby certify under penalties of perjury that the foregoing statements are true

and correct.




                                                   2
        Case 8:25-cv-00951-PX       Document 40       Filed 04/09/25    Page 3 of 3



MOVANT                                           PROPOSED ADMITTEE


/s/ Jonathan G. Cooper                           /s/ Courtney C. Whang
Jonathan G. Cooper                               (Signed by Jonathan G. Cooper with
MD Bar No. 21345                                 permission of Courtney C. Whang)
QUINN EMANUEL URQUHART &                         Courtney C. Whang
SULLIVAN, LLP                                    QUINN EMANUEL URQUHART &
1300 I Street NW, Suite 900                      SULLIVAN, LLP
Washington, DC 20005                             295 Fifth Avenue, 9th Floor
jonathancooper@quinnemanuel.com                  New York, NY 10016
Tel. No.: 202-538-8000                           courtneywhang@quinnemanuel.com
Fax No.: 202-538-8100                            Tel. No.: 212-849-7000
                                                 Fax No.: 212-849-7100
Dated: April 9, 2025.


  Counsel for Kilmar Armando Abrego Garcia, Jennifer Stefania Vasquez Sura, and A. A.V., a
           minor, by and through his next friend and mother, Jennifer Vasquez Sura.




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